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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

RYAN MERHOLZ, and MELVYN KLEIN,          : CASE NO. 3:20-CV-00557-VAB
Derivatively On Behalf Of WORLD          :
WRESTLING ENTERTAINMENT, INC.,           :
                                         :
            Plaintiffs,                  :
                                         :
v.                                       :
                                         :
VINCENT K. MCMAHON, STEPHANIE            :
MCMAHON, PAUL LEVESQUE, FRANK A.         :
RIDDICK III, STUART U. GOLDFARB,         :
LAUREEN ONG, ROBYN W. PETERSON,          :
MAN JIT SINGH, JEFFREY R. SPEED,         :
ALAN M. WEXLER, GEORGE A. BARRIOS,       :
and MICHELLE D. WILSON,                  :
                                         :
            Defendants,                  :
                                         :
WORLD WRESTLING ENTERTAINMENT,           :
INC.,                                    :
                                         :
            Nominal Defendant.           :


DANIEL KOOI, derivatively on behalf of   : CASE NO. 3:20-CV-00743-VAB
WORLD WRESTLING ENTERTAINMENT,           :
INC.,                                    :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :
                                         :
VINCENT K. MCMAHON, FRANK A.             :
RIDDICK III, JEFFREY R. SPEED,           :
PATRICIA A. GOTTESMAN, STUART U.         :
GOLDFARB, LAUREEN ONG, PAUL              :
LEVESQUE, ROBYN W. PETERSON,             :
STEPHANIE MCMAHON, MAN JIT SINGH,        :
ALAN M. WEXLER, GEORGE A. BARRIOS,       :
and MICHELLE D. WILSON                   :
                                         :
            Defendants.                  :
                                         :
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WORLD WRESTLING ENTERTAINMENT,         :
INC.                                   :
                                       :
           Nominal Defendant.          :


RODNEY NORDSTROM, derivatively on      : CASE NO. 3:20-CV-00904-CSH
behalf of WORLD WRESTLING              :
ENTERTAINMENT, INC.,                   :
                                       :
           Plaintiff,                  :
                                       :
v.                                     :
                                       :
VINCENT K. MCMAHON, GEORGE A.          :
BARRIOS, MICHELLE D. WILSON,           :
STEPHANIE MCMAHON, PAUL                :
LEVESQUE, FRANK A. RIDDICK III,        :
STUART U. GOLDFARB, LAUREEN ONG,       :
ROBYN W. PETERSON, MAN JIT SINGH,      :
JEFFREY R. SPEED, ALAN M. WEXLER,      :
and PATRICIA A. GOTTESMAN,             :
                                       :
           Defendants,                 :
                                       :
WORLD WRESTLING ENTERTAINMENT,         :
INC.,                                  :
                                       :
           Nominal Defendant.          :
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                        Opposition of Plaintiff Merholz, et al to
                         Defendants’ Motion to Consolidate
       Plaintiffs Merholz and Klein (“Plaintiffs”) herby briefly set forth their Opposition to

Defendants’ Motion to Consolidate.

       The motion to consolidate should be denied because it is premature.

       First, Plaintiffs believe that the fully briefed motion to remand by Plaintiff Kooi should

be ruled upon as this Court needs to establish whether the Kooi action is properly before it and

subject to its jurisdiction, or whether the Kooi action should be remanded to state court.

Likewise, Plaintiff Nordstom in the third filed derivative case has until July 31, 2020, to file his

motion to remand his action to state court. Upon information and belief based on consultations

with counsel for Plaintiff Nordstrom, that motion to remand is coming. If filed, it too should be

decided by this Court first in order to decide whether this court has jurisdiction over the

Nordstrom action or whether it should be remanded to state court.

       If both the Kooi action and the Nordstrom action are remanded, then only the Merholz

action will remain in this Court and there will be nothing to coordinate or consolidate.

Defendants’ proposed plan to consolidate, appoint lead counsel, file a consolidated complaint

and the like will be unnecessary. If, however, both the Kooi and Nordstrom actions remain in

this Court because the motion(s) to remand are denied, then Defendants’ plan of consolidation,

etc. is reasonable. Moreover, Plaintiffs’ counsel in the three derivative actions have already been

meeting and conferring regarding coordination after the motion(s) to remand are decided, and

depending on the ruling, may be able to reach agreement on how next to proceed.

       Accordingly, it is respectfully submitted that the Defendants’ motion to consolidate

should be denied at this time as premature, with leave to renew as events warrant after the
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 motion(s) to remand the Kooi and Nordstrom actions are decided.

Dated: July 22, 2020


                                             GAINEY McKENNA & EGLESTON


                                                By: /s/ Gregory M. Egleston
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                               CERTIFICATION OF SERVICE

        I hereby certify that, on July 22, 2020, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                                  By: /s/ Gregory M. Egleston
                                                  Gregory M. Egleston




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